 

Case 2:16-cv-02411-STA-egb Documen_t 1-7 .Fi|_ed 06/10/16 Pagelof€ Page|D 145
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\--l?"~,<_:/,___`_D.C.

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KAF<`EN BURNETT i\’lNG_

Plaintiff,

 

vs.
Div .' 'ar _~_~

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‘ l'JlCHOl.AS ROS|'NSON Kll'v~-.

Defendant.

COl‘v’lPLAiNT r';`!;‘)R ABSOL.UTE Dl\./ORCE AND FOR EXCLUSIVE L.iSE. \’JF `l"l iE
RESlDENCE, OR iN THE ALTERNAT|VE FOR AN lMMEDlATE HEAR!NG
ON TEMPORA RY PARENT|NG PLAN

` Comes now the Plaintiff, Karen Burnetl King (hereinafter "Wi)‘e"), by..and through her

counsel of recordl and in support of this Complaint respectfully shows to the Court as follows:

1. Plaintiff is a resident of Shelby County, Tennessee, and has been such r'or more

than six months preceding the ming of this Complaint. Further, the acts complained of herein

occurred While Plaintifi‘ was a resident of this state

2. Jefendant, Nicholas Robinson Kin hereinafter "Husband" , is a resident of
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Shelby County, 'i`erines.~:.ee, and has been such tor more than six months preceding the filing

of this Ccmp.'.__ini.
Plaintiff, in compliance with T.C.A. § 36-4-106, alleges as 'ir)llows:

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0.
(a) With reference to l-lusband:
(‘i) The tull name of Husband is Nicholas Robinsori l<ing.
(2) Husband’s race is Caucasian.
(3`) l-lusband’s present domicile and residence is 5469 Scarlet Fieids
Drive, Arlington, Tennessee 38002.
(4) Husband Was born on Aprii 24, 1977.
(5) l~lusband has had one previous marriage

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i'2_1 \/x'iie’s race i: '3; u:a€ a:‘i_
i§_; Wiie's present oomicii"d and residence is 545€=' S~::ariet :'iei's
Drive, Ariingrl;.~ ., Tennersee ZSO~C£.
549 Wii'e was torn o:'. December .‘?t ’:9.77.
»._’5,; Wite has ha c"ié previous marriage
'ci V\"it.h reference .: the narri-' ge;
.t,`: The oats c‘ ins :"'iarriaoe Was Apri.‘ 51 2057
{.'-_’_,‘- `i"he place o'.' tt re r,‘.arrieg»:- was lviemphis, Tennessee.
t3) The parties separated on or about Fef:)ruary 26 2003
('4) `i'here is one minor chiicJ ot this marriage namelyl /-'\o'dison l'(ing,

date of birth, January ‘iT= 2008.

Pursuant to 'l`.C.A. § 36-6-216, Wir'e alleges as iollows;

 

4.
(a) The parties have lived with the minor child at 5469 Scarlet
Fieids Dn've, Arlington, Tennessee 38002 from January17,
2008, to the present
(b) The minor children’s present residence is with the Wife at
5469 Scarlet Fields Drive, Arllngton, Tennessee 38002.
(c) Wife has not participa‘ed as a party, witness or in any
other capacity in any other litigation concerning custody of
the minor children pending in this or in any other state.
tdi Wife has no information ot a cu:~;tc.)dy proceeding
concerning the minor children pending in this or any other
state
(e) Wife knows of no person not a party to the proceedings
who has physical custodvof the children, or claims to have
physical custody or visitation rights with respect to the
children `
54 Wife alleges that irreconcilable differences exist between the parties
6. Wife alleges that Husbanc’ is guilty ot inappropriate marital conduct
7. Wiie alleges that she is the fit and proper person to be designated as the
primary residential parent of the parties' minor child, both pendente //'ie and permanent
see

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rsr‘!e ic `ii'iie tro __“"): " the marriage 31-".
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over minor issues l-lusoa d is employer full time and owns his own business which he

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is often away from the home iror., a Of‘a " rr. ic do p.rr.., and

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sometimes stays a..a'_. from ins residence laie. Wife aileg as that it is ir.~ the manifes
poss~' ssi:)n of the

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interested tthe parties cniio'
maritai residence in the alternativel Wite aileges that this !-lonora'ole Court should t a
temporary patenting schedule determined to be in the best interests of the child.
9. Wife alleges that the parties have acquired various property and indebtedness

during their marriage, all of Which should be equitably distributed
WHEREFORE, PRElvllSES CONSlDERED, WlFE PRAYS AS FOLLOWS:

a. That proper process issue and be served upon Husband. requiring him to

answert . nis Complaint out his oath to said answer. "s hereby expressly \/-.'aiv

\.' ’ir'e .)e awarded an absolute divorce tro .1 Husband;

id ':hai‘
`l`i‘iat Wiie be designated thc primary residential parent of the parties' minor

lchild, both pendente\i’ir'e and permanent

That this iionorat)le Court set this matter t`or a hearing on
ssion of the marital residence;

ar a date as soon as
practical and award Wir‘e and the child excli_rsive use and posse

or in the alternative set a temporary parenting plan determined to be in the best interests of

the parties' minor child;

e. That Wiie he awarded child supportl attorney fees and suit exp nses, both

pendente lite and permanent;

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apprave: ny the Court an: incorpora_ec §r..c the r`ina:’ decree oi di=.ra.'~c'_.;

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L.ai\/~.`lr'e `:re grants eusu-:`notne,.e

Respectfully Yrrtt

/i\mtci@rte./Mosr<ovrtz (#15576)
Adam N. Cohen (#19337)
SHEA MOSKOVITZ & MCGHEE
At'torneys for Plaintit’f
530 Oak Court Drive Suite 355
Memphis, Tennessee BE'i 17
('901) 821-0044

may a entitled in the premises

»vvl

 

Service accepted this _,-_',__/Z_ dayof _ZL /t_/ZM,¥.{ , ~ 2009

c /tM///l

Divorce Referee

 

 

 

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TO THE CLER."-‘_ Oi-` COURT:

Se: the ssue 05 exclusiye use and possession/temporary parenring pian for a hearing
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Divorce; that the facts state:.'t . nerei`r are true tc- the bes: c?'. rer\:nov\ledge
beiier'; that the oomp‘aint is not made out ofievit_\-' ar by collusion with the '_`rer'endarii, but in
sincerity enc-' truth to the causes men:ioned in the -orn_:)iaint

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i;AREN euai\ier . 7 i<i\ie §

STATE OF TENNESSEE

COUNTY OF SHELBY
;,:'.t/u,£ §§ jac/l ”’[w»~‘/J" , a l\lotary Public

ll Personallyappeaied before me
of the state and county aforesaid, KAREN BURNETT KlNG,' with whom l am personally

acquainted (0r proven to me on the basis of satisfactory evidence), and who acknowledged
that she executed the within instrument forthe purposes contained therein.
Wl`fl\l m l.,aro’ a office ‘ris /)[._ da f F'JQ"LW.¢E
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